                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                 KNOXVILLE DIVISION


                                                )       CASE NO.: 3:18-cv-00114
  JOBSITE STEEL MANUFACTURING,                  )
  LLC,                                          )       Varlan/Guyton
                                                )
                         Plaintiff,             )
                                                )
                 v.                             )
                                                )
  FRAMECO, INC., a/k/a FRAMECO                  )
  FRAMING, INC., a/k/a METAL                    )
  FRAMING INDUSTRIES, LLC and                   )
  JOSHUA MENSINGER,                             )

                         Defendants.


                      DEFENDANT JOSHUA MENSINGER’S ANSWER TO
                           (SECOND) AMENDED COMPLAINT

        Comes Defendant Joshua Mensinger (“Mr. Mensinger”), by and through his counsel, and

 Answers the second Amended Complaint filed on April 18, 2018 (Doc. 16) by Plaintiff Jobsite

 Steel Manufacturing, LLC (“Jobsite”) as follows:

        1.     Upon information and belief, Mr. Mensinger admits that Plaintiff Jobsite is a

 Tennessee company with a principal office and place of business in Loudon County, Tennessee.

 Mr. Mensinger is without knowledge or information to admit or deny any other allegations

 contained in paragraph 1.

        2.      Upon information and belief, Mr. Mensinger admits that Defendant FrameCo is

 an Ohio company. Mr. Mensinger is without knowledge or information to admit or deny the

 remaining allegations in paragraph 2.

        3.     Mr. Mensinger admits the allegations in paragraph 3.



                                                1

Case 3:18-cv-00114-TAV-HBG Document 23 Filed 05/02/18 Page 1 of 9 PageID #: 211
        4.      With regards to paragraph 4, Mr. Mensinger admits that he began working as an

 employee of Odom Construction Systems, LLC (“Odom”) on January 4, 2016, and that on

 January 5, 2016, he signed the document titled “Confidentiality Agreement” that was attached as

 Exhibit A to Jobsite’s Amended Complaint. Mr. Mensinger denies the remainder of paragraph 4

 insofar as it implies or suggests that Exhibit A constitutes an executed and enforceable

 contractual agreement.

        5.      With regards to paragraph 5, Mr. Mensinger neither admits nor denies the

 allegations and responds only that the referenced document, attached as Exhibit A to Jobsite’s

 Amended Complaint, speaks for itself, and Mr. Mensinger denies any allegations in paragraph 5

 that are inconsistent with Exhibit A.

        6.      Mr. Mensinger denies the first two sentences of paragraph 6. Mr. Mensinger is

 without knowledge or information to admit or deny the remaining allegations in paragraph 6

 except insofar as the referenced Exhibit B speaks for itself, including that Exhibit B, on its face,

 is not an agreement to which Jobsite Steel Manufacturing is a party; rather it is an agreement

 between Odom and the United Brotherhood of Carpenters and Joiners of America (“UBC”). Mr.

 Mensinger denies any allegations in paragraph 6 that are inconsistent with Exhibit B.

        7.      With regards to paragraph 7, Mr. Mensinger admits that as an employee of Odom

 and Jobsite, he had access to, reviewed, and obtained documents related to Odom and Jobsite.

 Mr. Mensinger denies the remaining allegations in paragraph 7.

        8.      Mr. Mensinger admits the allegations in paragraph 8.

        9.      Mr. Mensinger denies the allegations in paragraph 9 in that his employment with

 Jobsite ended July 17, 2017, not “early August of 2017.” Mr. Mensinger admits that he is

 currently employed by FrameCo, an Ohio corporation, but is without knowledge or information



                                                   2

Case 3:18-cv-00114-TAV-HBG Document 23 Filed 05/02/18 Page 2 of 9 PageID #: 212
 regarding whether the business of FrameCo is “substantially” similar to Odom and Jobsite. Mr.

 Mensinger neither admits nor denies the remaining allegations contained in paragraph 9 insofar

 as they state a legal conclusion to which no response is required.

        10.     Mr. Mensinger denies the first sentence of paragraph 10 and is without knowledge

 or information sufficient to admit or deny the remaining allegations in paragraph 10.

        11.     Mr. Mensinger is without knowledge or information sufficient to admit or deny

 the allegations in paragraph 11.

        12.     Mr. Mensinger is without knowledge or information sufficient to admit or deny

 the allegations in paragraph 12.

        13.     Mr. Mensinger is without knowledge or information sufficient to admit or deny

 the allegations in paragraph 13.

        14.     With regards to the first sentence of paragraph 14, upon information and belief,

 Mr. Mensinger admits that Charles Wright has worked for Odom and TDH but is without

 knowledge or information sufficient to admit or deny further allegations regarding Mr. Wright’s

 employment history. With regards to the second sentence of paragraph 14, Mr. Mensinger

 admits only that he knew Mr. Wright through their mutual past employment.

        15.     Mr. Mensinger is without knowledge or information sufficient to admit or deny

 the allegations in paragraph 15.

        16.     Mr. Mensinger is without knowledge or information sufficient to admit or deny

 the allegations in paragraph 16 except to say that the referenced document, attached as Exhibit C

 to the Amended Complaint, speaks for itself. Mr. Mensinger denies all allegations inconsistent

 with Exhibit C.

        17.     Mr. Mensinger denies the allegations in paragraph 17.



                                                  3

Case 3:18-cv-00114-TAV-HBG Document 23 Filed 05/02/18 Page 3 of 9 PageID #: 213
        18.     Mr. Mensinger denies the allegations in paragraph 18.

        19.     Mr. Mensinger denies the allegations in paragraph 19.

        20.     Mr. Mensinger is without knowledge or information sufficient to admit or deny

 the allegations in paragraph 20.

        21.     Mr. Mensinger denies the allegations in paragraph 21.

        22.     With regards to paragraph 22, Mr. Mensinger admits that FrameCo has performed

 work related to the Regas Square Project but denies the remaining allegations of paragraph 22.

        23.     Paragraph 23 incorporates by reference previous allegations to which Mr.

 Mensinger has already responded and requires no further response.

        24.     Mr. Mensinger denies the allegations in paragraph 24.

        25.     Mr. Mensinger denies the allegations in paragraph 25.

        26.     With regards to paragraph 26, Mr. Mensinger admits only that he has filed a

 lawsuit against Odom related to unpaid commissions promised to him by Odom, which case is

 filed in Chancery Court for Knox County, Tennessee, not this Court. Mr. Mensinger denies all

 remaining allegations in paragraph 26.

        27.     Mr. Mensinger denies the allegations in paragraph 27.

        28-30. In response to paragraphs 28-30, Mr. Mensinger responds that Plaintiff’s Count

 II-Conspiracy claim is subject to a contemporaneously filed joint motion to dismiss pursuant to

 Fed. R. Civ. P. 12(b)(6), and, thus, no response is required at this time.

        31.     Paragraph 31 incorporates by reference previous allegations to which Mr.

 Mensinger has already responded and requires no further response.

        32.     Mr. Mensinger denies the allegations in paragraph 32.

        33.     Mr. Mensinger denies the allegations in paragraph 33.



                                                   4

Case 3:18-cv-00114-TAV-HBG Document 23 Filed 05/02/18 Page 4 of 9 PageID #: 214
         34.     Mr. Mensinger denies the allegations in paragraph 34.

         35.     Mr. Mensinger denies the allegations in paragraph 35.

         36-40. With regards to paragraphs 36-40, Mr. Mensinger responds that Plaintiff’s Count

 IV-Respondeat Superior claim is subject to a contemporaneously filed joint motion to dismiss

 pursuant to Fed. R. Civ. P. 12(b)(6), and, thus, no response is required at this time.

         41-46. With regards to paragraphs 41-46, Mr. Mensinger responds that Plaintiff’s Count

 VI-Breach of Confidentiality Agreement claim is subject to a contemporaneously filed joint

 motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), and, thus, no response is required at this

 time.

         47.     Paragraph 47 incorporates by reference previous allegations to which Mr.

 Mensinger has already responded and requires no further response.

         48.     Mr. Mensinger denies the allegations in paragraph 48.

         49.     Mr. Mensinger denies the allegations in paragraph 49.

         50.     Mr. Mensinger denies the allegations in paragraph 50.

         51-55. With regards to paragraphs 51-55, Mr. Mensinger responds that Plaintiff’s Count

 VII-Procurement of Breach of Contract claim is subject to a contemporaneously filed joint

 motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), and, thus, no response is required at this

 time.

         56.     With regards to Plaintiff’s prayer for relief, Mr. Mensinger denies that Plaintiff is

 entitled to any of the relief requested or any relief at all.

         57.     Subject to the Court’s resolution of the pending Joint Motion to Dismiss Counts

 II, IV, V and VII of the Amended Complaint, Mr. Mensinger denies each and every allegation

 contained in the Amended Complaint not already specifically admitted or denied.



                                                     5

Case 3:18-cv-00114-TAV-HBG Document 23 Filed 05/02/18 Page 5 of 9 PageID #: 215
                                      ADDITIONAL DEFENSES

         In further Answer to the Amended Complaint filed April 18, 2018, and without admitting

 any liability whatsoever, Mr. Mensinger asserts the following additional defenses:

         1.      Plaintiff’s Amended Complaint fails to state claims upon which relief can be

 granted and therefore should be dismissed.

         2.      Mr. Mensinger has at all times in his dealings on behalf of his employers acted in

 good faith, without bad faith or any improper or unlawful motive.

         3.      All or some of Plaintiff’s claims are barred, in whole or in part, by the doctrines

 of laches, unclean hands, waiver, and/or estoppel.

         4.      Plaintiff’s claims may be barred, in whole or in part, by the doctrines of res

 judicata and/or collateral estoppel.

         5.      Any potential business relationship between Plaintiff Jobsite and TDH was lost

 due to the actions of Jobsite or another, not due to any actions of Mr. Mensinger or his employer.

         6.      The “Confidentiality Agreement” referenced and discussed by Plaintiff does not

 constitute an enforceable contract of any kind.

         7.      Even if a contract did exist, Mr. Mensinger did not breach it.

         8.      Even if a contract did exist, Plaintiff was not a party or third-party beneficiary to

 any contract that entitles it to relief in this case.

         9.      Mr. Mensinger took no unlawful action and had no unlawful purpose that could

 form the basis for any claim of conspiracy.

         10.     With regards to any actions Mr. Mensinger engaged in while employed at

 FrameCo, he was acting in the course and scope of his employment and cannot be considered a




                                                         6

Case 3:18-cv-00114-TAV-HBG Document 23 Filed 05/02/18 Page 6 of 9 PageID #: 216
 separate actor from his employer to permit a claim of conspiracy between Mr. Mensinger and

 FrameCo.

           11.   The provisions of Tenn. Code Ann. §47-24-1701 et seq. do not apply because at

 no time did Mr. Mensinger misappropriate any information that he received from Plaintiff

 Jobsite or third-party Odom, nor did Mr. Mensinger improperly disclose any information that

 constitutes a “trade secret.”

           12.   Plaintiff Jobsite has suffered no damages as a result of any conduct on the part of

 Mr. Mensinger or his employer.

           13.   Plaintiff Jobsite is otherwise unable to prove, in whole, the required elements of

 the claims it asserts, and therefore, the claims should be dismissed, in whole or in part.

           14.   Defendants’ right to engage in ordinary business competition bars Plaintiff’s

 claims, in whole or in part.

           15.   Plaintiff Jobsite’s claims are without merit and were filed in retaliation for Mr.

 Mensinger pursuing his own lawful and meritorious claims against Odom and/or in retaliation

 for Mr. Mensinger and FrameCo engaging in lawful business competition.

           16.   Plaintiff Jobsite’s claims are frivolous, unreasonable, and groundless, and

 Defendants are entitled to attorneys’ fees and other costs associated with the defense of these

 claims.

           17.   Defendants may be entitled to recover attorneys’ fees pursuant to TCA § 47-25-

 1705(1) because Plaintiff’s claim for misappropriation of trade secrets is made in bad faith.

           18.   Mr. Mensinger reserves the right to amend this Answer pursuant to the Tennessee

 Rules of Civil Procedure and to add additional defenses as discovery and evidence justify.




                                                   7

Case 3:18-cv-00114-TAV-HBG Document 23 Filed 05/02/18 Page 7 of 9 PageID #: 217
        WHEREFORE Defendant Joshua Mensinger hereby requests that this Honorable Court

 deny Plaintiff Jobsite any relief; dismiss the Amended Complaint with prejudice; tax all costs to

 Plaintiff Jobsite; and award Defendant Mensinger his reasonable costs and attorneys’ fees and

 award any additional relief to which Defendant Mensinger may be entitled and which justice

 may require.

                                                     Respectfully submitted,

                                                     s/ Maha Ayesh
                                                     Jennifer Morton
                                                     Maha M. Ayesh
                                                     Jennifer Morton Law, PLLC
                                                     8217 Pickens Gap Road
                                                     Knoxville, TN 37920
                                                     865) 579-0708
                                                     (865) 579-0787 fax
                                                     jen@jmortonlaw.com
                                                     maha@jmortonlaw.com

                                                     Attorneys for Defendant Joshua Mensinger




                                                 8

Case 3:18-cv-00114-TAV-HBG Document 23 Filed 05/02/18 Page 8 of 9 PageID #: 218
                                  CERTIFICATE OF SERVICE


        I certify that on May 2, 2018, a copy of the foregoing Defendant Joshua Mensinger’s

 Answer to Amended Complaint was filed electronically with the Court’s electronic filing system.

 Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

 indicated on the electronic filing receipt. Parties may access this filing through the Court's

 electronic filing system


                                             s/Maha Ayesh




                                                   9

Case 3:18-cv-00114-TAV-HBG Document 23 Filed 05/02/18 Page 9 of 9 PageID #: 219
